      Case 2:07-cr-00571-GEB Document 371 Filed 09/23/14 Page 1 of 2


1

2

3

4                         UNITED STATES DISTRICT COURT

5                        EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,            No.   2:07-cr-00571-GEB-5
8                   Plaintiff,
9         v.                              ORDER
10   GENERO LUNA,
11                  Defendant.
12

13             On August 11, 2014, Defendant filed, in pro per, a

14   Motion for Reduction and/or Modification of his Sentence under 18

15   U.S.C. ' 3582(c)(2). (ECF No. 367.) In essence, Defendant argues

16   a retroactive amendment to the Sentencing Guidelines, resulting

17   in a reduction of his base offense level by two levels, and his

18   rehabilitation efforts justify a reduction and/or modification of

19   his sentence.

20             The government opposes Defendant’s modification motion,

21   rejoining “the defendant’s motion is premature, and the Court is

22   currently without authority to grant it.” (Gov’t Opp’n 1:25-26.)

23   The government argues:

24             The defendant . . . seek[s] a reduction in
               his sentence on the basis of proposed
25             Amendment 782 to the Sentencing Guidelines,
               which if implemented will revise the Drug
26             Quantity Table in USSG § 2D1.1 and reduce by
               two levels the offense level applicable to
27             many drug trafficking offenses. . . .
28
                                         1
      Case 2:07-cr-00571-GEB Document 371 Filed 09/23/14 Page 2 of 2


1                    Amendment 782 is not yet effective. The
                amendment will become effective on November
2               1, 2014, if Congress does not act before that
                time to modify or disapprove it. Even then,
3               if the amendment      becomes effective, no
                defendant may be released on the basis of the
4               retroactive amendment before November 1,
                2015. Thus, there will be ample time for
5               consideration of the defendant’s motion if
                and when the amendment becomes effective.
6

7    (Id. at 120-2:3.) The government further argues: “[D]efendant

8    also cites to his post-sentencing rehabilitation efforts as a

9    basis to reduce his sentence. By itself, that factor does not

10   appear to be an appropriate basis to modify a sentence under

11   Section 3582(c).” (Id. at 4 n.3.)

12              Defendant’s   modification          motion   is   premised   upon   an

13   amendment to the Sentencing Guidelines that has not yet taken

14   effect. Further, Defendant has not shown that his rehabilitation

15   efforts    permit   a    reduction        of    his     sentence.    Therefore,

16   Defendant’s   motion    to   modify   and/or       reduce    his    sentence   is

17   denied. See United States v. Edwards, --- F. App’x ----, 2014 WL

18   4346754, at *1 n.1 (9th Cir. 2014) (stating “it is preferable for

19   [the defendant] to file a motion for reduction of sentence under

20   18 U.S.C. ' 3582(c)(2)[, which is premised upon Amendment 782,]

21   after the Amendment goes into effect”).

22   Dated:    September 22, 2014

23

24

25

26
27

28
                                           2
